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           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,                  APPLE’S OPPOSITION TO
                    a Delaware corporation,                       PLAINTIFFS’ REQUEST FOR
           20                                                     RECONSIDERATION REGARDING
                                       Plaintiffs,                EVIDENTIARY RULINGS IN THE
           21                                                     KIANI AND MUHSIN DIRECT
                          v.                                      TESTIMONY DECLARATIONS
           22
                    APPLE INC.,
           23       a California corporation,
           24                          Defendant.
           25
           26                            REDACTED VERSION OF DOCUMENT
           27                            PROPOSED TO BE FILED UNDER SEAL
           28

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             1                                           INTRODUCTION
             2               Plaintiffs’ motion for reconsideration should be denied because it misstates both
             3      the law and the facts. In particular, Plaintiffs have not come close to establishing that
             4      this motion presents the “highly unusual circumstances” where a motion for
             5      reconsideration is proper. See MGA Entm’t, Inc. v. Harris, 2022 WL 4596585, at *1-2
             6      (C.D. Cal. Sept. 7, 2022) (Selna, J). Plaintiffs have not identified any change in the law
             7      or the facts that has occurred since Apple lodged its objections on October 31, 2024—a
             8      basic threshold problem that would have existed even if Plaintiffs sought reconsideration
             9      the same day the evidentiary rulings were served.
           10                Plaintiffs also provide no explanation—much less evidence, such as an attorney
           11       declaration—establishing why none of Plaintiffs’ 21 attorneys from 2 firms received the
           12       objections rulings when this Court’s deputy served them via email. See Ex. 1 (Court
           13       deputy’s email). In any event, Plaintiffs were at least on notice that this Court had ruled
           14       on the objections by the afternoon of Tuesday, November 5, when Apple’s counsel
           15       expressly referenced this Court’s decision in successfully moving to strike testimony
           16       from Joe Kiani about what Christiano Dalvi purportedly told him in 2014. See 11/5/24
           17       PM Tr. 32:2-4 (“
           18                                                                               ”). While Plaintiffs
           19       acknowledge this on-the-record colloquy on the first page of their motion, they offer no
           20       explanation for why they did not immediately inquire about the status of this Court’s
           21       rulings.1
           22                Even if Plaintiffs’ belated motion for reconsideration were procedurally proper,
           23       their substantive arguments are meritless. The Court correctly excluded Mr. Kiani’s
           24       testimony about a 2014 comment from Mr. Dalvi because Plaintiffs are offering this
           25
           26       1
                       As detailed further below, Plaintiffs’ assertion that Apple willfully withheld
           27       information is baseless and a distraction. Apple assumed, like this Court, that Plaintiffs
                    had received the evidentiary rulings on November 4, and that its follow-on emails on
           28       November 6 and 7 were inquiring about the existence of “additional” rulings modifying
                    the original ruling. See infra pp. 2-5.
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             1      hearsay-within-hearsay to prove the central allegation in their case: that Apple allegedly
             2      sought to compete with Plaintiffs using information from Dr. Lamego.               And the
             3      testimony about Masimo’s steps toward making its first sales of watch sensor modules
             4      was properly excluded as both irrelevant and undisclosed. In short, even if Plaintiffs
             5      had made these arguments at the proper time—i.e., before the Court ruled on Apple’s
             6      objections—the Court would have been right to reject them.
             7                                          BACKGROUND
             8            On October 7, 2024, this Court ordered a bench trial on Plaintiffs’ trade secret and
             9      patent ownership/inventorship claims. Dkt. 2133. Pursuant to this Court’s standing
           10       order, the parties filed written declarations containing their witnesses’ direct
           11       examination testimony. Dkt. 2163 (Plaintiffs’ October 16, 2024 declarations); Dkt. 2185
           12       (Apple’s October 23, 2024 declarations).        On October 31, 2024, both sides filed
           13       evidentiary objections to the other side’s declarations. Dkt. 2241 (Plaintiffs), Dkt. 2244
           14       (Apple). Finally, both sides filed responses to some of the other side’s objections. See
           15       Dkt. 2261 (Apple’s November 4, 2024 response to objections to Warren, Sarrafzadeh,
           16       and Webster); Dkt. 2278 (Plaintiffs’ November 5, 2024 response to objections to
           17       Madisetti and Scruggs).
           18             On November 4, 2024, this Court’s courtroom deputy served the parties with
           19       written rulings on Apple’s evidentiary objections to Plaintiffs’ witness declarations for
           20       Mr. Kiani, Mr. Diab, Mr. Muhsin, and Mr. Poeze—i.e., four of the first six witnesses
           21       Plaintiffs had indicated they planned to call. See Ex. 1 (email); see also Ex. 2 (Plaintiffs’
           22       witness order). This Court’s email was addressed to dozens of attorneys-of-record,
           23       including nineteen attorneys from Knobbe Martens and two attorneys from Sullivan &
           24       Cromwell—all of whom represent Plaintiffs. See Ex. 1. Throughout this matter, this
           25       Court has regularly served the parties with sealed rulings via email without complaint
           26       from either side.
           27             Trial began the next day. At the outset, Apple’s lead counsel stated that Apple
           28       “

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             1                                                                                              See
             2      11/5/24 AM Tr. 8:15-24. Later that same day, when Plaintiffs attempted to elicit
             3      testimony from Mr. Kiani about out-of-court statements made by Mr. Dalvi, Apple
             4      objected on the grounds that this Court had already sustained a hearsay objection:
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           16       11/5/24 PM Tr. 31:9-32:5;2 see also Mot. 1 (highlighting the same exchange). Plaintiffs
           17       did not pursue the issue further or suggest to the Court or Apple that Plaintiffs’ counsel
           18       had not received the Court’s rulings on the declaration.
           19                The next day, Wednesday, November 6, 2024, the Court’s clerk served on the
           20       parties—again via e-mail—the Court’s rulings on objections to Mr. Scruggs. Ex. 3.
           21       This Court then formally entered its evidentiary rulings regarding Mr. Kiani, Mr. Poeze,
           22       Mr. Diab, and Mr. Muhsin on the docket at Dkts. 2288, 2289, 2290, and 2291. Plaintiffs’
           23       counsel responded to the Clerk’s email regarding the objections on Mr. Scruggs to
           24       request copies of “the additional rulings for Messrs. Kiani, Poeze, Diab, and Muhsin.”
           25       Ex. 3. The courtroom deputy wrote back 45 minutes later to confirm that she had not
           26       “received anything additional from the Court.” Ex. 3. Later that same day, when
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           28       2
                        Emphasis added unless noted.
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             1      Plaintiffs attempted to elicit testimony from Mr. Muhsin regarding W1 Watch sales,
             2      Apple objected on the grounds that this Court had already sustained a related objection
             3      to Mr. Muhsin’s declaration:
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           10                    THE COURT: Correct. The last testimony will be excluded.
           11       11/6/24 AM Tr. 80:12-22. Again, Plaintiffs did not pursue the issue further or suggest
           12       to this Court or Apple that it had not received this Court’s objections rulings. To the
           13       contrary, Plaintiffs’ counsel later leveraged that sustained objection against Apple:
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           24       11/6/24 AM Tr. 98:7-18.
           25             On the morning of Thursday, November 7, 2024, this Court’s courtroom deputy
           26       re-forwarded the objections rulings to the parties. Ex. 4. The courtroom deputy
           27       explained that while she had “received an undeliverable [notification] today,” she had
           28

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             1      not received such a notification for “the original email sent on November 4th.” Ex. 4.3
             2      Plaintiffs responded, stating only that they “confirm[] that [they] received the Court’s
             3      rulings for Kiani, Muhsin, Poeze, Diab (Part 1 and 2), and Kinrich.” Ex. 5. Plaintiffs
             4      said nothing to suggest that they had not also received the rulings on the declarations
             5      when they were emailed on Monday, November 4, 2024. Ex. 5.
             6               Plaintiffs filed this motion shortly before noon on Friday, November 8, 2024.
             7                                             ARGUMENT
             8      I.       PLAINTIFFS’ MOTION DOES NOT SATISFY THE DEMANDING REQUIREMENTS
             9               FOR RECONSIDERATION
           10                Because a motion for reconsideration “is an ‘extraordinary remedy[] to be used
           11       sparingly,” this Court and others in this District have placed significant limits on its use.
           12       Finnegan v. United States, 2021 WL 8820874, at *1 (C.D. Cal. Dec. 9, 2021) (Selna,
           13       J.). Of particular note, motions for reconsideration “cannot ‘be used to raise arguments
           14       or present evidence for the first time when they could reasonably have been raised
           15       earlier.” Id. Accordingly, this Court may exercise its discretion to grant reconsideration
           16       when (a) there is a “material difference in fact and law from that presented to the Court”
           17       before the decision at issue, (b) new material facts have—or a change in law has—
           18       emerged “after the time of such decision,” or (c) there is a “manifest showing of a failure
           19       to consider material facts presented to the Court before such decision.” Id. (citing L.R.
           20       7-18). A party seeking reconsideration under one of those three categories may not “in
           21       any manner repeat any oral or written argument” previously presented on the issue. L.R.
           22       7-18.
           23                Plaintiffs barely address this demanding standard, much less argue that the instant
           24       motion fits into one of Local Rule 7-18’s three categories. Indeed, Local Rule 7-18
           25       affirmatively bars Plaintiffs from challenging this Court’s ruling on the Dalvi
           26       statements, since Plaintiffs’ counsel orally raised the same state-of-mind argument on
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                     Plaintiffs are thus wrong when they imply that the Orders “were undeliverable” when
                    “originally sent on November 4.” Mot. 2.
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             1      Tuesday that Plaintiffs now repeat in their motion. Compare 11/5/24 PM Tr. 31:6-32:1
             2      (Plaintiffs’ counsel arguing that Dalvi’s statements “
             3                                                                    ”) with Mot. 3-5 (arguing
             4      “Masimo offers the [Dalvi] statements purely as evidence of Kiani’s state of mind” and
             5      in response to Apple’s “statute of limitations” defense).
             6            The arguments Plaintiffs do make to support reconsideration are meritless. First,
             7      Plaintiffs assert that they purportedly “did not have an opportunity to respond to Apple’s
             8      objections” before this Court ruled. Mot. 2. That is both incorrect and irrelevant. It is
             9      incorrect because both sides have filed written responses to some of the other side’s
           10       objections. See supra p. 2 (noting Plaintiffs responded to Apple’s objections to Scruggs
           11       and Madisetti). Plaintiffs’ failure to respond to Apple’s objections to Mr. Kiani’s and
           12       Mr. Muhsin’s testimony before the Court ruled on them is a problem of Plaintiffs’ own
           13       making; it certainly does not provide a basis ground for the extraordinary remedy of
           14       reconsideration. In any event, whether a party had an opportunity to respond in advance
           15       of the Court’s ruling is irrelevant to whether Local Rule 7-18 has been satisfied.
           16             Second, Plaintiffs argue that they are entitled to reconsideration because Apple
           17       purportedly had access to this Court’s evidentiary rulings several days before they did.
           18       Mot. 2-3. As an initial matter, this argument is a red herring. Regardless of whether
           19       Plaintiffs’ counsel first received the rulings on November 4 or November 8, Plaintiffs
           20       would still have to show that one of Local Rule 7-18’s three categories applies. Plaintiffs
           21       have made no such argument here—they simply disagree with this Court’s rulings.
           22             In any event, Plaintiffs’ assertion that Apple had some kind of unfair advantage
           23       in accessing this Court’s rulings is flat wrong. The courtroom deputy emailed the rulings
           24       to two nearly dozen attorneys representing Plaintiffs, the same approach this Court has
           25       used to serve sealed decisions on the parties throughout this litigation. Plaintiffs’ vague
           26       assertion that “a technical issue concerning Masimo’s computers,” (Mot 2 n.1), does not
           27       explain how precisely the same “issue” could simultaneously afflict so many different
           28       Knobbe Martens and Sullivan & Cromwell attorneys.

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             1            Even if Plaintiffs had provided a concrete explanation for why they did not receive
             2      the Monday email, Apple referenced this Court’s rulings when responding to and raising
             3      objections on Tuesday and Wednesday on the same two evidentiary rulings Plaintiffs
             4      challenge (i.e., Mr. Dalvi’s statements and post-discovery financial information about
             5      Plaintiffs’ sales). See supra pp. 2-4. For example, Apple’s counsel’s statement on
             6      Tuesday afternoon that “
             7                                                                                              ,” see
             8      supra p. 3, clearly informed Plaintiffs that a ruling had been made on whether Mr.
             9      Kiani’s testimony about Mr. Dalvi’s statements were inadmissible hearsay. Plaintiffs
           10       provide no explanation for why they did not contemporaneously raise the issue with the
           11       Court or with Apple.
           12             Finally, Plaintiffs’ assertion (at 2-3) that Apple is somehow at fault for Plaintiffs’
           13       lack of diligence (and Plaintiffs’ counsel’s widespread “technical issue”) is
           14       unreasonable. Like the Court, Apple was under the impression that Plaintiffs had
           15       received the evidentiary rulings regarding Mr. Kiani and Mr. Muhsin on Monday,
           16       November 4, and that Plaintiffs’ Wednesday email was inquiring about whether there
           17       were any “additional” rulings (presumably because Plaintiffs believed the Wednesday
           18       morning docket entries indicated that this Court has modified its Monday rulings). See
           19       supra p. 3. It is Apple that will be prejudiced if this Court entertains Plaintiffs’ invitation
           20       to reverse course now. Had this Court overruled Apple’s objections regarding Dalvi and
           21       the OEM testimony, Apple was prepared to cross Mr. Kiani and Mr. Muhsin on both
           22       issues. Now that both witnesses have left the stand, Apple has lost its opportunity to do
           23       so.
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             1      II.   THE COURT CORRECTLY SUSTAINED OBJECTIONS TO THE KIANI AND MUHSIN
             2            DIRECT TESTIMONY DECLARATIONS
             3            A.       Mr. Kiani’s Testimony About Christiano Dalvi’s 2014 Statement Is
             4                     Inadmissible Hearsay
             5            The Court correctly excluded paragraphs 212 and 221 of Mr. Kiani’s direct
             6      testimony declaration under Federal Rules of Evidence 802 and 403. See Dkt. 2288
             7      ¶¶ 212, 221.
             8            In paragraph 212, Mr. Kiani asserts that a former Cercacor employee named
             9      Christiano Dalvi told him in July 2014 that “Lamego left Apple because [Apple] had
           10       asked [Lamego] to do something that would compete with [Plaintiffs].” Dkt. 2288
           11       ¶ 212. Mr. Kiani asserts that Mr. Dalvi learned this information from having spoken
           12       with his “close friend,” Dr. Lamego. Id. Mr. Kiani further alleges that Mr. Dalvi relayed
           13       Dr. Lamego’s assertion that “he did not want to [do something that would compete with
           14       Plaintiffs] because it was not consistent with his character.” Id. In paragraph 221, Mr.
           15       Kiani further discusses “what Christiano Dalvi had told [him] about Lamego’s departure
           16       from Apple,” in light of what Mr. Kiani supposedly learned in 2019 about certain patents
           17       filed by Apple. Id. ¶ 221.
           18             This testimony can only serve a hearsay purpose: “to prove the truth of the matter
           19       asserted in [Mr. Lamego’s] statement,” as relayed through Mr. Dalvi. Fed. R. Evid.
           20       801(c)(2). Because the excluded testimony “involves several layers of hearsay[,] …
           21       [f]or [it] to be admissible, each layer of hearsay must” be admissible.” Sana v. Hawaiian
           22       Cruises, Ltd., 181 F.3d 1041, 1045 (9th Cir. 1999). The only theory Plaintiffs have
           23       offered for why the statements are admissible is that they were offered for the non-
           24       hearsay purpose of establishing their effect on Mr. Kiani’s “state of mind” in 2014. Mot.
           25       3-5. That argument is meritless.
           26             With respect to the first part of the hearsay-within-hearsay statement (“Lamego
           27       left Apple because [Apple] had asked [Lamego] to do something that would compete
           28       with [Plaintiffs],” Kiani Decl. ¶ 212), Plaintiffs are offering the testimony to prove the

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             1      truth of the matter asserted. Plaintiffs’ theory of the case is that Apple supposedly hired
             2      Dr. Lamego to run a sensor development group so Apple could develop an optical sensor
             3      for physiological monitoring using Plaintiffs’ trade secrets rather than paying or
             4      acquiring Plaintiffs. See, e.g., Dkt. 2218-1 at 104-105 (Plaintiffs’ proposed Findings of
             5      Fact and Conclusions of Law). Plaintiffs are improperly offering Mr. Kiani’s testimony
             6      to try to support this (false) theory. Plaintiffs’ motion for reconsideration glosses over
             7      this aspect of the testimony. See Mot. 5. The Court therefore correctly excluded this
             8      portion of paragraph 212 as inadmissible hearsay.
             9               Plaintiffs’ motion instead focuses on the second portion of Mr. Dalvi’s statement:
           10       that Mr. Lamego left because he did not want to compete with Mr. Kiani’s companies.
           11       See Mot. 5. Even if Plaintiffs offer this aspect of Mr. Dalvi’s statement for its effect on
           12       Mr. Kiani’s state of mind, this Court was right to exclude it. As the Ninth Circuit has
           13       explained, the “state of mind exception to the rule against hearsay” is unavailable when
           14       the statement is “self-serving[] and duplicative of the [witness’s] own testimony about
           15       [his] state of mind.” United States v. Bishop, 291 F.3d 1100, 1110 (9th Cir. 2002); see
           16       also, e.g., United States v. Kahre, 737 F.3d 554, 577-578 (9th Cir. 2013) (affirming
           17       exclusion of hearsay as too self-serving); United States v. Dashner, 2015 WL 3660331,
           18       at *4 (N.D. Cal. June 2, 2015) (excluding hearsay about the defendant’s state of mind).
           19       Here, Plaintiffs have sought to meet their burden on the statute of limitations defense by
           20       establishing that Mr. Kiani lacked “reason to suspect that a trade secret had been
           21       misappropriated, Gabriel Techs. Corp. v. Qualcomm Inc., 857 F. Supp. 2d 997, 1003
           22       (S.D. Cal. 2012).4 It is entirely self-serving for Mr. Kiani to explain away why Plaintiffs
           23       did not act on Mr. Dalvi’s statement that Apple supposedly asked Dr. Lamego to
           24       compete with Plaintiffs by asserting that Mr. Dalvi also purportedly stated that Dr.
           25
           26       4
                      Mr. Kiani’s testimony speaks only to his own personal knowledge—it does not provide
           27       evidence about what was or should have been known to Masimo and Cercacor as
                    corporate entities, which together have thousands of employees. See Dkt. 1809 at 13.
           28       Plaintiffs have never identified any case law suggesting that the CEO’s knowledge alone
                    is coextensive with that of the corporations under California’s discovery rule.
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             1      Lamego said he had not engaged in misappropriation. Plaintiffs neither questioned Dr.
             2      Lamego about this issue, see generally 11/7/24 PM Tr. 9-126, nor called Mr. Dalvi in
             3      either trial—surely because neither would corroborate the hearsay Plaintiffs attempted
             4      to offer through Mr. Kiani.
             5            Finally, Plaintiffs are wrong to assert (at 3-5) that this Court’s evidentiary rulings
             6      in April 2023 say anything about the correctness of an evidentiary decision made in
             7      November 2024. When a case is retried, “unless some specific limitation is expressly
             8      noted, [it] is on an open record,” and the Court may change its evidentiary rulings.
             9      Wagner v. Maricopa Cnty., 2014 WL 12701215, at *1 (D. Ariz. May 13, 2014); see also
           10       City of Los Angeles, Harbor Div. v. Santa Monica Baykeeper, 254 F.3d 882, 885 (9th
           11       Cir. 2001) (holding that district courts “possess the inherent power to reconsider,
           12       rescind, or modify an interlocutory order”). There is, of course, no such limitation here.
           13       As Plaintiffs concede, the parties agreed only to admit prior deposition testimony,
           14       exhibits, and demonstratives without further objection. Mot. 5. That there was no
           15       agreement reached on how to treat testimony from the prior trial is an issue of Plaintiffs’
           16       own making. Apple urged this Court to resolve this case on the prior trial transcript (see,
           17       e.g., Dkt. 2144 at 1-2), but—at Plaintiffs’ request—this Court ordered the witnesses to
           18       present new testimony. See Dkt. 2133 at 3; see also 10/9/24 Tr. 6:5 (retrial would be
           19       “starting from square one”).
           20             B.     Testimony About Plaintiffs’ Health Module Is Inadmissible
           21             This Court also correctly sustained Apple’s objections to paragraphs 123-125 of
           22       the Kiani Declaration and paragraph 66 of the Muhsin Declaration, which all contain
           23       testimony related to Masimo’s attempts to develop a business of selling a “module” to
           24       other watch OEMs. The Court has excluded similar testimony throughout the course of
           25       this litigation, and for good reason: it is irrelevant and concerns facts and theories that
           26       Plaintiffs did not timely disclose in discovery.
           27             First, the OEM testimony is irrelevant to any issue left in the case. It reflects yet
           28       another attempt by Plaintiffs to resuscitate their theory that

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             1                                                                                           if Apple
             2      had not engaged in the purported misappropriation. This theory has zero factual support:
             3      there was no misappropriation, and Apple
             4                                               . This Court rightly struck that same basic theory
             5      under Rule 37(c) before the first trial. See, e.g., Dkts. 1283, 1516. Because Plaintiffs
             6      are precluded from relying on that theory of harm (see, e.g., Dkt. 2294 at 9-10), this
             7      testimony is irrelevant.
             8            Plaintiffs try to sidestep this problem by arguing that the potential for Masimo to
             9      sell sensor modules to other watch manufacturers “is relevant to the independent
           10       economic value” of the alleged trade secrets. Mot. 6-7 & n.5. But Plaintiffs have never
           11       disclosed a nexus between L4, L5, D1, D3, or D10 and the purported health module that
           12       could provide a basis for inferring that the alleged trade secrets have any independent
           13       economic value. Absent that foundation, Plaintiffs’ steps toward building a watch
           14       module business says nothing about whether the specific alleged trade secrets at issue
           15       here have any independent economic value from not being generally known. In any
           16       event, Plaintiffs have never presented evidence that Masimo has sold a single sensor
           17       module to any watch OEM.
           18             Plaintiffs also wrongly argue that the OEM testimony is relevant to “irreparable
           19       harm supporting injunctive relief.” Mot. 6-7 & n.5. As Apple explained, during the
           20       nearly five years of litigation Plaintiffs have refused to disclose any factual or legal basis
           21       underlying their request for a permanent injunction. See Dkt. 2204 at 2-3; Dkt. 2294 at
           22       3-4; Dkt. 2285 ¶¶ 361-368. For instance, Plaintiffs have never meaningfully responded
           23       to Apple’s Interrogatory No. 17, which asked Plaintiffs to “[s]tate in detail all factual
           24       and legal bases for Your contention that You are entitled to … injunctive relief,” despite
           25       having supplemented their response twelve times since the interrogatory was first served
           26       in 2020. Dkt. 2181-2 at 5. While Plaintiffs now cite five pages from the very same
           27       interrogatory that purport to show that the OEM irreparable harm theory was properly
           28       disclosed (pages 15, 21-23, and 27 of Exhibit A), only one of those pages actually

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             1      appears in Exhibit A, and it merely states without elaboration that Plaintiffs are “
             2
             3                      .” Dkt. 2301-3 [Ex. A] at 15.5 In sum, although Apple has now raised this
             4      disclosure issue three times, Plaintiffs have yet to offer any citation to any actual prior
             5      disclosure, nor any meaningful explanation for how they can evade FRCP 37(c).
             6               Second, Plaintiffs cannot rely on their September 2024 partnership with Google
             7      because that arrangement involves post-discovery facts and was never disclosed as
             8      relevant to either issue Plaintiffs now contend it relates to. Plaintiffs do not contend that
             9      they timely disclosed the Google partnership mentioned in the excluded testimony. Mot.
           10       6-7. Instead, they point to disclosures about their “intention to develop a health sensor
           11       module for OEMs” and their “discussions with Google that culminated in the September
           12       2024 press release” referenced in the Kiani Declaration. Id.6
           13                To be clear: the issue of injunctive relief should be moot, because Plaintiffs’ trade
           14       secret claims have collapsed during this trial, and without liability, remedies are moot.
           15                Moreover, it is simply too late for Plaintiffs to inject new facts into the case.
           16       Plaintiffs evidently agree: Plaintiffs’ counsel leveraged the very ruling they now ask the
           17       Court to reconsider when they successfully objected to Apple questioning Mr. Muhsin
           18       about Masimo’s November 5, 2024 earnings call. See supra p. 4; 11/6/24 AM Tr. 98:7-
           19       18 (“
           20
           21                    ”). Plaintiffs should not be permitted to strategically wield this Court’s
           22       evidentiary rulings as a sword when it is to their benefit and then claim error when it is
           23       not.
           24
           25       5
                      Exhibit A is only 22 pages long and—using Exhibit A’s numbering—pages 21 to 22
           26       are irrelevant to the OEM issue. Going by the original numbering of the interrogatory
                    response, Plaintiffs have not included pages 21-23 or 27.
           27       6
                     Plaintiffs also rely on disclosures in the Delaware action pending between the parties.
           28       See Mot. 7. But the cited reports and depositions are all from 2023—i.e., before the
                    events referenced in the excluded testimony.
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             1                                         CONCLUSION
             2            For the foregoing reasons, Plaintiffs’ motion for reconsideration should be denied.
             3
             4      Dated: November 11, 2024               Respectfully submitted,

             5
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             1                              CERTIFICATE OF COMPLIANCE
             2            The undersigned, counsel of record for Defendant Apple, Inc., certifies that this
             3      brief contains 4,042 words, which:
             4             X complies with the word limit of L.R. 11-6.1.
             5                complies with the word limit set by court order dated [date].
             6
             7      Dated: November 11 , 2024              Respectfully submitted,
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